Case 1:20-cv-01744-CFC Document 126 Filed 04/24/24 Page 1 of 1 PageID #: 2185




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
             v.                               )
                                              )      No. 1:20-cv-1744-CFC
WALMART INC. AND WAL-MART                     )
STORES EAST, LP,                              )
                                              )
                     Defendants.              )

                           ENTRY OF APPEARANCE

      Please enter the appearance of Rachael L. Doud, as co-counsel for Plaintiff,

the United States of America, in the above-captioned case

                                            Respectfully submitted,

                                            AMANDA N. LISKAMM
                                            Director
                                            United States Department of Justice
                                            Consumer Protection Branch

                                    BY:     /s/ Rachael L. Doud
                                            RACHAEL L. DOUD
                                            Assistant Director
                                            Consumer Protection Branch
                                            U.S. Department of Justice
                                            450 5th Street, N.W., Room 5303
                                            Washington, D.C. 20001
                                            (202) 305-4499
                                            Rachael.Doud@usdoj.gov
